          IN THE DISTRICT COURT OF THE UNITED STATES
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      CHARLOTTE DIVISION

                    CRIMINAL CASE NO. 3:03cr127-03


UNITED STATES OF AMERICA, )
                          )
                          )
             vs.          )                     ORDER
                          )
                          )
JEREMIAH CHAMBERS.        )
                          )



      THIS MATTER is before the Court on the Defendant’s Motion for

Reduction of Sentence Pursuant to 18 U.S.C. §3582(c)(2) [Doc. 141], filed

through counsel on March 25, 2008.

      In response to the Government’s Motion for Extension of Time [Doc.

144, filed April 14, 2008], the undersigned granted an extension through

April 29, 2008. [Doc. 145, filed April 15, 2008]. The Government filed a

timely response. [Doc. 151, filed April 29, 2008].

      The Defendant pled guilty in 2003 to conspiracy to possess with

intent to distribute at least 150 grams but less than 500 grams of cocaine

base. [Doc. 36, filed November 18, 2003]. In the Defendant’s plea

agreement with the Government, the parties agreed that his base offense



     Case 3:03-cr-00127-MOC    Document 152     Filed 05/06/08   Page 1 of 4
level was 34 and that he should receive an adjustment pursuant to

U.S.S.G. §3B1.2 for minimal participation. [Id.]. His base offense level was

therefore set at 30 pursuant to U.S.S.G. §2D1.1(a)(3).1 The Defendant

received another adjustment for his role in the offense (-4), reducing his

offense level to 26 and for acceptance of responsibility (-3), resulting in a

final offense level of 23. [Doc. 142, filed April 11, 2008]. With a criminal

history category of IV, the Defendant’s guideline range was 70 to 87

months of imprisonment and he received a sentence of 70 months. [Id.].

      U.S.S.G. §2D1.1(c) was amended in November 2007 (Amendment

706) to lower the base offense level for drug offenses involving cocaine

base by two levels. U.S.S.G. §2D1.1 (2007); U.S.S.G. App. C. Amend.

706. This amendment has been made retroactive effective March 3, 2008.

See, U.S.S.G. §1B1.10(c) (Mar. 3, 2008).

      “In determining whether, and to what extent, a reduction in the term

of imprisonment is warranted for a defendant eligible for consideration

under 18 U.S.C. §3582(c)(2), the court should consider the term of

imprisonment that it would have imposed had the amendment(s) to the


      1
        The 2003 version of the Guidelines provided as follows for U.S.S.G.
§2D1.1(a)(3): “the offense level specified in the Drug Quantity Table set
forth in Subsection (c) [shall be the offense level], except that if the
defendant receives an adjustment under §3B1.2 (Mitigating Role), the base
offense level under this subsection shall be not more than level 30.”


     Case 3:03-cr-00127-MOC     Document 152    Filed 05/06/08   Page 2 of 4
guidelines [at issue] been in effect at the time the defendant was

sentenced.” U.S.S.G. §1B1.10(b). Applying the amendment to the

guidelines calculation yields the following. The base offense level for an

offense involving between 150 grams and 500 grams of cocaine base

would be calculated to be 32. U.S.S.G. §2D1.1(c)(4). Because the

Defendant received an adjustment pursuant to U.S.S.G. §3B1.2, the base

offense level of 32 is reduced by two levels. U.S.S.G. §2D1.1(a)(3)(i).2

The Defendant’s base offense level is therefore 30, the same as it was

previously. Applying the same reductions for role in the offense (-4) and

acceptance of responsibility (-3), the Defendant’s offense level remains at

23. As a result, his advisory guideline range did not change.

      The Court therefore concludes that the Defendant does not qualify

under the Amendment for a reduction in sentence.




      2
       The current version of this Guideline reads: “the offense level
specified in the Drug Quantity Table set forth in subsection (c) [shall be the
base offense level], except that if (A) the defendant receives an adjustment
under §3B1.2 (Mitigating Role); and (B) the base offense level under
subsection (c) is (i) level 32, decrease by 2 levels[.]” It is, therefore, of no
consequence whether the older version of §2D1.1(a)(3) is applied and the
offense level is reduced to 30, or whether the current version of
§2D1.1(a)(3) is applied and the offense level is reduced by two levels to
30.


     Case 3:03-cr-00127-MOC     Document 152    Filed 05/06/08   Page 3 of 4
     IT IS, THEREFORE, ORDERED that the Defendant’s Motion for

Reduction of Sentence Pursuant to 18 U.S.C. §3582(c)(2) [Doc. 141] is

hereby DENIED.



                                    Signed: May 6, 2008




     Case 3:03-cr-00127-MOC   Document 152   Filed 05/06/08   Page 4 of 4
